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                                       UNITED STATES DISTRICT COURT
                                           DISTRICT OF MARYLAND
                                             SOUTHERN DIVISION


        Melissa Gross,

                                                                Civil Action No.: 8:10-cv-03194-RWT
                                 Plaintiff,
                v.


        Fair Collections & Outsourcing, Inc.; and
        DOES 1-10, inclusive,

                                 Defendants.



                      NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                              DISMISSAL OF ACTION WITH PREJUDICE
                                     PURSUANT TO RULE 4l(a)


                Melissa Gross ("Plaintiff'),   by Plaintiffs   attorney, hereby withdraws the complaint and
        voluntarily   dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41 (a)(l)(A)(i).

        Dated: October 7, 2011

                                                         Respectfully submitted,
                                                         By /s/ Forrest E. Mays
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 7,2011,    a true and correct copy of the foregoing Notice
of Withdrawal   was served electronically   by the U.S. District Court for the District of Maryland
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                                By /s/ Forrest E. Mays

                                                     Forrest E. Mays
